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                                   STATEMENT OF FACTS

        Your affiant, David Hubalik, is a special agent assigned to the Federal Bureau of
Investigation, Joint Terrorism Task Force (JTTF). In my duties as a special agent, I am assigned
to a National Security Squad to investigate acts of domestic terrorism under state and federal law.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a special agent, I am authorized by law or by a Government agency to engage
in or supervise the prevention, detection, investigation, or prosecution of a violation of Federal
criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Target, Lisa Anne HOMER (née Boisselle), was identified as an individual who entered
the Capitol Building for approximately one hour. During that time, she moved extensively
throughout the building, but there is no evidence, at this time, that she destroyed any property or
assaulted any law enforcement officers.

        According to records obtained through a search warrant served on Google a cellular phone
with a phone number of 509.759.4654 (“subject telephone number”) with an SMS number
15097594654 was identified as being within the restricted area of the United States Capitol on
January 6, 2021. A Google account, #929633000000 with an email address of
“lisannehomer@gmail.com was also associated with this device. The earliest point of entry on
January 6, 2021 was at 2:13:27 PM EST. The latest point that the subject telephone number was
identified inside the Capitol building on January 6, 2021 was at 3:17:33 PM EST.
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       Additional investigation revealed that the subject telephone number was associated with a
Samsung Galaxy Z Fold 2 5GM, device ID: IMEI 35655211057332 (the “Samsung”) and Google
account ID number 929633000000, which had an email address of lisannehomer@gmail.com and
a recovery email of lisa@iwas.us. The Google account was created on October 11, 2011, under
the name of Lisa HOMER.

        Records checks indicated that HOMER flew from Phoenix Sky Harbor Airport to Dallas
Fort Worth Airport on American Airlines Flight #130 on January 3, 2021, changing to American
Airline Flight #1291, traveling to Dulles International Airport in Washington D.C. Upon making
travel arrangement’s, HOMER listed her phone number as 509.759.4654 and an email of
lisannehomer@gmail.com. On January 8, 2021, HOMER left Washington D.C. on American
Airlines Flight #AA5576 traveling to Charlotte North Carolina, changing to American Airlines
Flight #AA778 traveling to Phoenix Sky Harbor Airport.

        On January 25, 2021, HOMER entered an Arizona Motor Vehicle Division (“MVD”)
office and applied for an Arizona driver license, wherein she listed her residential street address as
7440 E. Via De Luna Drive, Scottsdale, Arizona 85255 (SUBJECT PREMISES) on the
application. The application completed by HOMER also listed 509.759.4654 (subject telephone
number) as her telephone number. On or about in June 2021, HOMER updated her Arizona
driver’s license to reflect her legally name change to Lisa Anne Boisselle (subsequent to a final
divorce decree from an individual with the last name of Homer).

        In the months following the January 6, 2021, riots at the United States Capitol the New
York Times assembled video segments taken from numerous sources to produce a video entitled
Day of Rage: How Trump Supporters Took the U.S. Capitol, which can be found at
https://www.nytimes.com/video/us/politics/100000007606996/capitol-riot-trump-
supporters.html

       IMAGES 1-3 below are screenshot photographs of HOMER from the New York Times
video. IMAGE 1 depicts HOMER circled in red at 07:19 into the video as part of the crowd
marching towards the Capitol building.
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                                          IMAGE 1

       IMAGE 2 depicts the crowd of protesters forcefully push through the first police line. At
12:04 into the video, HOMER can easily be seen at the front of the protest line participating in
confronting and taunting Capitol Police at the West steps.




       IMAGE 2
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        IMAGE 3 depicts HOMER at 12:04 into the video, while Congress was still in session,
William “Billy” Chrestman, one of the Proud Boys 1 leaders is seen whipping up the crowd
chanting “who’s house is this?” The crowd responds by yelling “our house.” HOMER is seen
standing next to Chrestman participating in the chanting. Referring to the Capitol, Chrestman
yells, “who’s house is it?” HOMER and others respond, “our house!” Then Chrestman yells “do
you want your house back?” HOMER can be seen and heard yelling “yes” in response.
Chrestman then yells, “take it.” 2 As HOMER is yelling, she can be seen looking over her left
shoulder towards the crowd, shortly before the Capitol building was attacked.




                                                      IMAGE 3

        IMAGES 4-7 below were obtained from a video on the cellular iPhone of Albert Ciarpelli,
who was arrested by the FBI on January 14, 2021, for his involvement in the Capitol riot, and the
subject of DC District Court case 21-mj-38. In these photographs HOMER can easily be seen
dressed in dark (possibly black) pants, a dark (possibly black or blue) hoodie 3 with a white
American flag on the right sleeve and a white crossed rifle emblem on the left sleeve. HOMER
has a dark colored gator mask around her neck. She is wearing an olive-drab, green-colored
wraparound outer carrier vest (designed to hold ballistic body armor) that appears to show the
outline of a protective rifle plate inside of the front compartment. 4 There is a tan square patch with

1
  Proud Boys is a nationalist organization with multiple US chapters and potential activity in other Western
countries. The group describes itself as a “pro-Western fraternal organization for men who refuse to apologize for
creating the modern world; aka Western Chauvinists.” Proud Boys members routinely attend rallies, protests, and
other First Amendment-protected events, where they sometimes engage in violence against individuals whom they
perceive as threats to their values. The group has an initiation process for new members, who often wear yellow and
black polo shirts or other apparel adorned with the Proud Boys logo to events.
2
  Chrestman and five other co-conspirators have been charged in case 21-cr-00160-TJK, in which this “call and
response” exchange is referenced in paragraph 36 of the public indictment.
3
  Prior to January 6, 2021, the Proud Boys communicated about dressing in black on that day, as referenced in
paragraph 12 of the indictment in 21-cr-00160-TJK.
4
  On January 6, 2021, Chrestman and other wore vests similar to HOMER’s vest.
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dark writing “Lions Not Sheep” on the right side of the outer carrier front flap. A square camera,
possibly a GoPro is attached to the center of the outer carrier directly below HOMER’s chin. This
photograph shows HOMER’s face completely exposed. HOMER is also wearing a white knitted
beanie with tan trim and a black patch sewn onto the front that states, “Lions Not Sheep.”




                       IMAGE 4

        IMAGES 5 and 6 show HOMER wearing a large dark backpack with an oblong letter “O”
that your Affiant is aware of as the trademark of Oakley. The backpack appears to be full of several
large unknown objects. Clipped to the back of the backpack is a rectangular, multicolored object.
HOMER is seen wearing a tan glove with black padded leather sewn into the glove covering the
knuckle area of her left hand. The right-hand glove can be seen in IMAGES 5 and 6 attached to
the right side of the backpack.
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        IMAGE 5                               IMAGE 6
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        As the video continues, IMAGE 7 shows HOMER is holding a cellular phone in her hands
(her left hand is gloved, and her right hand is ungloved and manipulating the phone), as if she is
videotaping what is taking place in the crowd.




                                         IMAGE 7

        On July 14, 2021, your affiant and Special Agent Lum met with Scottsdale, Arizona Police
Officer Eric Tetter at the Via Linda police station in Scottsdale, Arizona. Officer Teeter advised
that he knows who HOMER is from prior police contacts in 2020 (HOMER was a witness/victim,
not a suspect/target in the Scottsdale event). Your affiant showed Officer Teeter IMAGE 4 of
HOMER prior to entering the Capitol building. Office Teeter reviewed the photograph and
positively identified the female in the photograph as HOMER.

        Prior to entering the Capitol building HOMER pulled up the gator that was around her neck
so that it covered her nose, as depicted in IMAGE 8 below. HOMER then put on dark color
goggles and a protective helmet covered in green camouflage. Despite the items covering her head
and face, the distinctive clothing she was wearing outside of the Capitol building appear to be the
same clothing worn by HOMER throughout the time she is inside the Capitol building. Also, items
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attached to her backpack when outside of the Capitol building are in the same location while inside
of the Capitol building.




           IMAGE 8

        As depicted in IMAGES 9 and 10, once HOMER enters the Capitol building through the
damaged doorway, she is seen holding her phone up and one can see she is recording the events.
Shortly after entering, she turns and walks up to a broken window. HOMER appears to be
recording the crowd coming up the steps and then pans down filming the broken-out glass from
the window which now lays on the floor. The clothing and items attached to her backpack now
inside of the Capitol Building are the same as prior to entering the Capitol building.
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          IMAGE 9                                   IMAGE 10

      IMAGES 11 and 12, taken from video surveillance shows HOMER walking through the
Rotunda area of the Capitol.




                                   IMAGE 11
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                                      IMAGE 12


        IMAGES 13 and 14 are taken from CCTV, which captured HOMER inside of the Crypt
area of the Capitol and then leaving the Senate wing and eventually the Capitol building.




                                      IMAGE 13
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                       IMAGE 14
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        Through open-source monitoring of HOMER’s social media found that she has an
Instagram account, with the screen name “laboisselle27.” In January 2021, HOMER posted
IMAGE 15 on her Instagram page of a map entitled “We the People” and underneath the caption
reads “stolen election.” Also posted is IMAGE 16, a photograph of a soldier standing post in what
appears to be the Washington D.C. Capitol area. While both photographs show a posted date of
January 27, 2021, IMAGE 16 is believed to have been taken on January 6, 2021.




                  IMAGE 15                            IMAGE 16

        An open-source search of HOMER’s social media revealed IMAGE 17 as the profile page
on her MeWe account. It should be noted that HOMER is wearing the same white and tan beanie
she had on at the police line at the west steps of the Capitol building. On the front of the beanie is
the phrase “Lions Not Sheep.” IMAGE 17 reads “Lisa HOMER Member since November 2020.”




                  IMAGE 17
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       IMAGE 18 is a photo HOMER posted on February 21, 2021 of herself on Instagram. In
IMAGE 18, HOMER is wearing a baseball-style cap with a patch that also reads “Lions Not
Sheep.”




                          IMAGE 18

       IMAGE 19 is an emblem that your affiant believes is associated with the Proud Boys
group. HOMER posted this image on her Instagram account.




                         IMAGE 19
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        On November 14, 2020, the Proud Boys and various pro-Trump groups gathered in
Washington, D.C. for the "Million MAGA March" to protest the results of the 2020 presidential
election. From HOMER’s travel and social media posts, it appears HOMER traveled to D.C. to
participate/support this event.

        Investigation revealed that HOMER departed Phoenix Sky Harbor Airport on November
13, 2020, at approximately 2:50 PM on United Airlines Flight number 560 arriving at Dulles
International Airport in Washington, D.C. at approximately 8:53 PM. When making her travel
reservations with United Airlines, HOMER listed her telephone number as 509.759.4654 and her
email address as lisannehomer@gmail.com. HOMER also used her Wells Fargo Visa credit/debit
card ending in #0942 to pay for her travel. Subsequent records indicated that HOMER returned to
Phoenix, Arizona on November 15, 2020, on American Airlines Flight #AA1242.

      IMAGE 20 depicts an Instagram posting dated October 30, 2020 (prior to HOMER’s travel
to Washington, D.C.), in which HOMER wrote, “Let’sblowshitup.” [sic.]




                                     IMAGE 20
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        Within a few days of the “Million MAGA March” HOMER posted IMAGES 21 and 22
on her Instagram account, which appear to be from the November 14, 2021 march in Washington,
D.C.




              IMAGE 21                           IMAGE 22

       HOMER posted IMAGES 23 and 24 on her Instagram account in November 2020 and
appear to be from the Proud Boys November 14, 2020 march in Washington, D.C. IMAGE 23
shows an indivitual in a Proud Boys tee shirt. IMAGE 24 shows an injured Proud Boy, with
HOMER’s comment, “FuckAntifa.”




          IMAGE 23                            IMAGE 24
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      Based on your affiant’s familiarity with D.C., IMAGE 25 appears to be in Washington,
D.C. HOMER posted IMAGE 25 in October 2021, and places herself in D.C. during the Proud
Boy 2020 protest.




                                        IMAGE 25

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Lisa Anne HOMER, aka Boisselle, violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a
crime to (1) knowingly enter or remain in any restricted building or grounds without lawful
authority to do; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of
Government business or official functions, engage in disorderly or disruptive conduct in, or within
such proximity to, any restricted building or grounds when, or so that, such conduct, in fact,
impedes or disrupts the orderly conduct of Government business or official functions.
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        Your affiant submits there is also probable cause to believe that Lisa Anne HOMER
violated 40 U.S.C. § 5104(e)(2) which makes it a crime to willfully and knowingly; (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      David Hubalik FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this _____ day of November 2021.                              Digitally signed by G.
                                                                       Michael Harvey
                                                                       Date: 2021.11.15
                                                                       12:56:21 -05'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
